   Case 1:07-cr-00007-PLM          ECF No. 80, PageID.250          Filed 09/27/07      Page 1 of 2




                                 UNITED STATES OF AMERICA
                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION




UNITED STATES OF AMERICA, )
                              )
               Plaintiff,     )              Case No. 1:07-cr-00007
                              )              Case No. 1:07-cr-00216 (2:06-cr-00131, N.D. Indiana)
v.                            )
                              )              Honorable Paul L. Maloney
EDDIE JEROME MILLS,           )
                              )
            Defendant.        )
______________________________)


                               REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

September 20, 2007, after receiving the written consent of defendant and all counsel. At the hearing,

defendant Eddie Jerome Mills entered a plea of guilty to Counts One, Three, Five, Six and Seven of the

Indictment in Case Number 1:07-CR-0007 and Count Five of the Superseding Indictment in Case Number

1:07-CR-216 (2:06-CR-131 NDIN). Counts One and Three of the Indictment in Case Number 1:07-CR-

0007 and Count Five of the Superseding Indictment in Case Number 1:07-CR-216 (2:06-CR-131 NDIN)

charge the Defendant with armed bank robbery in violation of Title 18, United States Code, Sections

2113(a), (d) and (f). Counts Five and Seven of the Indictment in Case Number 1:07-CR-0007 charge the

Defendant with armed credit union robbery in violation of Title 18, United States Code, Sections 2113(a),

(d) and (g). Count Six of the Indictment in Case Number 1:07-CR-0007 charges the Defendant with

brandishing a firearm during a crime of violence in violation of Title 18, United States Code, Section

924(c).
    Case 1:07-cr-00007-PLM           ECF No. 80, PageID.251           Filed 09/27/07       Page 2 of 2




               On the basis of the record made at the hearing, I find that defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full understanding of each

of the rights waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.

               I therefore recommend that defendant's plea of guilty to Counts One, Three, Five, Six and

Seven of the Indictment in Case Number 1:07-CR-0007 and Count Five of the Superseding Indictment in

Case Number 1:07-CR-216 (2:06-CR-131 NDIN) be accepted, that the court adjudicate defendant guilty,

and that the written plea agreement be considered for acceptance at the time of sentencing. Acceptance of

the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge. The clerk is directed to procure a transcript of the plea hearing for review

by the District Judge.



Date: September 27, 2007                                /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                         NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings objected
to, and must be filed and served no later than ten days after the plea hearing. See W.D. MICH . L.CR.R.
11.1(d).




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